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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE :; 1

 

  

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WESTERN DIVISION
f'i\' r ft i.`i`: =1-..1-,
`C' ‘~', i, la
DAWN SMITH, § mm {.J_ luis high f~/f
Plaintiff, )
)
)
vs. ) Civil No. 04-2151 Ml/V
)
)
RUBY BRIDGEFORTH, POSTMASTER, )
UNITED STATES POSTAL SERVICE, )
MEMPHIS FRONT STREET INSTALLATION, )
)
Defendant. )

 

DEFENDANTS’ PR@POSE'B SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference was held April 21, 2005. Present
were Dawn Smith, Pro Se, and Linda Harris, counsel for defendants At the conference, the
following dates Were established as the final dates for:

l. Initial disclosures pursuant to Fed. R. Civ.P P.:26(a)(1) M:z 2005

2. loining Parties: June 20, 2005.

3. Amending Pleadings: June 20, 2005

4. Initial Moticns to Dismiss: July 20, 2005

5. Completing All Discovery: October 20, 2005

(a) Document Production: October 20, 2005
(b) Deposition, Interrogatories, Requests for Admissions: October 20, 2005
(c) Expert Witness Disclosures:

(l) Disclosure of Plaintiff’s Rule 26 Expert: August 22, 2005

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(2) Disclosure of Defendant’s Rule 26 Expert: Septernber 22, 2005
(3) Expert Witness Depositions: September 22, 2005
6. 1 Filing Dispositive Motions: Novernber 2l, 2005
This case is set for a non-jury trial, and the trial is expected to last l-2 days. The pretrial
order date, pretrial conference date, and the trial date will be set by the presiding judge
The parties cannot assess whether this case is appropriate for ADR until sorne discovery
has been conducted The parties are ordered to notify the Court no later than September 30,
2005, if they believe ADR is appropriate Motions to compel must be filed by the discovery cut
off date.
The parties have not consented to trial before the magistrate judge
This Order has been entered after consultation With the parties pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order Will not be modified or
extended

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE ]UDGE

Date: M ‘7?/' '?wa

 

 

DAWN SMITH
Pro S

    

Assistant United States Attorney

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02151 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Linda N. Harris

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Honorable Samuel Mays
US DISTRICT COURT

